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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                              ROME DIVISION

JESSIE DAKOTA ALLEN,                            )
                                                )    Civil Action
     Plaintiff,                                 )    No.
                                                )
v.                                              )    JURY TRIAL DEMANDED
                                                )
GNC HOLDINGS LLC,                               )
                                                )
  Defendant.                                    )
_________________________________               )

                         COMPLAINT FOR DAMAGES

        COMES NOW, Plaintiff, Jessie Dakota Allen, by and through undersigned

counsel, and files this Complaint for Damages against Defendant GNC Holdings

LLC (“Defendant”), and states as follows:

                          JURISDICTION AND VENUE

                                           1.

        Plaintiff invokes the jurisdiction of this court pursuant to 28 U.S.C. § 1331

and 42 U.S.C. § 2000e-5(f).

                                           2.

        The unlawful employment practices alleged in this Complaint were

committed within this district. In accordance with 28 U.S.C. § 1391 and 42 U.S.C.

§2000(e)-5(f), venue is appropriate in this Court.

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                                     PARTIES

                                          3.

      Plaintiff is a citizen of the United States of America, and is subject to the

jurisdiction of this Court.

                                          4.

      Defendant is qualified and licensed to do business in Georgia, and at all

times material hereto, has conducted business within this District.

                                          5.

      Defendant may be served with process by delivering a copy of the summons

and complaint to its registered agent, C. T. Corporation System, 289 S. Culver

Street, Lawrenceville, Georgia 30046.


                     ADMINISTRATIVE PREREQUISITES

                                          6.

      Plaintiff timely filed a charge of discrimination against Defendant with the

Equal Employment Opportunity Commission (EEOC) alleging disability

discrimination in violation of the Americans with Disabilities Act (“ADA”). The

EEOC issued a “Notice of Right to Sue” on February 5, 2021, entitling an action to

be commenced within ninety (90) days of receipt of that notice. This action has



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been commenced within ninety (90) days of receipt of the “Notice of Right to

Sue”.

                            FACTUAL ALLEGATIONS

                                            7.

        Defendant has now, and at all times relevant hereto, has been an employer

subject to the ADA.

                                            8.

        Plaintiff was hired by Defendant in mid-October 2020 as a sales associate.

                                            9.

        Plaintiff suffers from a disabilities, within the meaning of the ADA, of

which Defendant had actual knowledge. In particular, Plaintiff suffers from

depresssion and anxiety.

                                            10.

        On December 5, 2020, Julie Kidd, Plaintiff’s supervisor, texted Plaintiff

about his availiabity to work.

                                            11.

        Plaintiff responded with his availability.




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                                           12.

       That same day, Ms. Kidd sent texts to Plaintiff stating that Plaintiff had a lot

going on with his depression and stress.

                                           13.

       Ms. Kidd then terminated Plaintiff’s employmernt.

                                           14.

       Plaintiff’s disability did not pose a safety issue and he was and remains able

to perform the duties of the position for which he was hired, with or without a

reasonable accommodation.

                                           15.

       Defendant terminated Plaintiff because of his disabilities or perceived

disabilities.

                                           16.

       In terminating Plaintiff’s employment, Defendant discriminated against

Plaintiff because of his disabilities.

                                           17.

       Plaintiff has suffered lost wages and emotional distress as a direct result of

Defendant’s unlawful actions.




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                               CLAIM FOR RELIEF

VIOLATION OF THE AMERICANS WITH DISABILITIES ACT (“ADA”)

                            (ADA DISCRIMINATION)


                                            18.

      Plaintiff repeats and re-alleges the preceding paragraphs as if set forth fully

herein.

                                            19.

      Section 102 of the ADA protects qualified individuals, including Plaintiff,

from adverse employment actions based on a known disability of the employee.

                                            20.

      At times relevant to this action, Plaintiff was a “qualified individual” as that

term is defined by the ADA.

                                            21.

      At times relevant to this action, Plaintiff has been an individual with

disabilities as that term has been defined by the ADA.

                                            22.

      At times relevant to this action, Defendant and the individual(s) involved in

the decision to terminate Plaintiff were aware of Plaintiff’s disabilities, including at

the time of Defendant’s termination of Plaintiff.

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                                          23.

      Plaintiff’s disabilities were a determinative factor in Defendant’s decision to

terminate Plaintiff.

                                          24.

       At all times relevant, Plaintiff could perform the essential functions of his

position with, or without a reasonable accommodation.

                                          25.

       Defendant “regarded” Plaintiff as having “disabilities” under the ADA.

                                          26.

       In terminating Plaintiff, Defendant discriminated against Plaintiff because

of his disabilities, thus violating Plaintiff’s rights under the ADA entitling him to

all appropriate relief thereunder.

                                          27.

       As a result of Defendant’s unlawful actions, Plaintiff has suffered

emotional distress and other non-pecuniary damages, as well as economic

damages, for which he is entitled to recover from Defendant.

                                          28.

      Defendant discriminated against Plaintiff, and in failing and refusing to take

any appropriate remedial action to remedy the unlawful employment practices has


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not only deprived Plaintiff of equal employment opportunities, but exhibits malice

or reckless indifference to the federally protected rights of Plaintiff.

                                            29.

      Plaintiff is entitled to compensatory and punitive damages.

      WHEREFORE, Plaintiff judgment as follows:

      (a)           General damages for mental and emotional suffering caused by

                    Defendant's misconduct;

      (b)           Punitive damages based on Defendant's willful, malicious,

                    intentional,   and    deliberate   acts,   including   ratification,

                    condonation and approval of said acts;

      (c)           Special damages for lost wages and benefits and prejudgment

                    interest thereon;

      (d)           Reasonable attorney’s fees and expenses of litigation;

      (e)           Trial by jury as to all issues;

      (f)           Prejudgment interest at the rate allowed by law;

      (g)           Declaratory relief to the effect that Defendant has violated

                    Plaintiff’s statutory rights;




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     (h)         Injunctive relief of reinstatement, or front pay in lieu thereof,

                 and prohibiting Defendant from further unlawful conduct of the

                 type described herein; and

     (i)         All other relief to which he may be entitled.

     This 26th day of February, 2021.



                                    BARRETT & FARAHANY

                                    s/V. Severin Roberts
                                    V. Severin Roberts
                                    Georgia Bar No. 940504
                                    Attorney for Jessie Dakota Allen

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